Case 2:15-cv-12602-GCS-DRG ECF No. 16 filed 01/19/16            PageID.68   Page 1 of 2



                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

                             ) Case No.: 15-cv-12602
  CHAREE STEWART,            ) Hon. George Caram Steeh
               Plaintiff,    ) Mag. Judge David R. Grand
                             )
        vs.                  )
  EXETER FINANCE CORPORATION )
                             )
               Defendant.    )
                             )
                             )
  Mark L. Small (P26976)       Megan P. McKnight (P70428)
  Attorney for Plaintiff       Attorney for Defendant
  MARK L. SMALL PLC            PLUNKETT COONEY
  656 W. Frank St.             38505 Woodward Ave., Suite 2000
  Birmingham, MI 48009         Bloomfield Hills, MI 48304
  (248) 376-3110               (248) 901-4000
  msmall@smallslaw.com         mmcknight@plunkettcooney.com



       JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


        COME NOW Plaintiff Charee Stewart and Defendant Exeter Finance

  Corp., pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), and hereby jointly

  stipulate that this action is dismissed, with prejudice, with the parties to bear

  their own attorney's fees, costs and expenses.

  IT IS SO ORDERED

  Dated: January 19, 2016                 s/George Caram Steeh
                                          U.S. District Judge
Case 2:15-cv-12602-GCS-DRG ECF No. 16 filed 01/19/16   PageID.69   Page 2 of 2



  Approved as to form and content for entry:

  /s/ Mark L. Small (by MPM w/permission)      /s/ Megan P. McKnight
  Mark L. Small (P26976)                       Megan P. McKnight (P70428)
  Attorney for Plaintiff                       Attorney for Defendant




  24982189 v1
